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                            UNITED STATES DISTRICT COURT

                         NORTHERN DISTRICT OF CALIFORNIA

                                SAN FRANCISCO DIVISION




CELONIS SE and CELONIS, INC.,                  Case No. 3:25-cv-02519-VC

                  Plaintiffs,                  JOINT STIPULATION REGARDING
                                               MOTION FOR PRELIMINARY
       v.                                      INJUNCTION

SAP SE and SAP AMERICA, INC.,                  Judge: Hon. Vince Chhabria
                                               Courtroom: 4, 17th Floor
                  Defendants.




                                                                   JOINT STIPULATION RE
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       Plaintiffs Celonis SE and Celonis, Inc. (“Plaintiffs” or “Celonis”) and Defendants SAP SE

and SAP America, Inc. (“Defendants” or “SAP”; together with Plaintiffs, “the Parties”) stipulate

and agree as follows:

       WHEREAS, on March 13, 2025 Celonis filed a Motion for Preliminary Injunction in this

action (Dkt. 16) (“PI Motion”), which PI Motion SAP has opposed (Dkt. 52);

       WHEREAS, on April 17, 2025, SAP filed a Motion to Dismiss (Dkt. 46), which Motion to

Dismiss Celonis has opposed (Dkt. 54);

       WHEREAS, as set forth below, the Parties have reached certain agreements as to interim

measures as a result of which the Parties have concluded that the PI Motion does not require

resolution by the Court (the “Stipulation”);

       WHEREAS, all provisions of the Stipulation are material to the Parties’ agreement and

shall be read together; and,

       WHEREAS, Plaintiffs and Defendants agree that the Stipulation herein does not constitute

an admission of liability or waiver of any rights, claims, defenses, arguments or requests for relief

in this or any other action between them, except as specifically set forth below;

       IT IS HEREBY STIPULATED by the Parties, as follows:

        1.     SAP will not prohibit or interfere with the use or deployment of Celonis’ RFC

ABAP extractor, with or without the real time extension, as generally described at

https://docs.celonis.com/en/pipeline-end-to-end-overview.html and the related publicly available

documentation specific to the RFC ABAP-extractor (the “Celonis RFC Module”) to extract data

from SAP ECC and SAP S/4HANA systems (and the previous and subsequent versions thereof)

during the pendency of this Stipulation as set forth in par. 7, below.



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       2.      SAP will not impose on its customers additional fees or license payments for access

to or extraction of customer data using the Celonis RFC Module during the pendency of this

Stipulation.

       3.      Within five (5) business days of entry of this Stipulation, SAP will instruct, in

writing, each of its marketing, sales, and field employees who sell or promote Signavio products

or services that compete with Celonis not to make statements to customers or the market that are

inconsistent with this Stipulation. In the event SAP becomes aware of such statement having been

made by any of its employees or partners selling the relevant products at SAP’s direction during

the pendency of this Stipulation, including by virtue of notice by Celonis, SAP shall address such

statement within fourteen (14) business days of such notice or awareness by issuing a written

clarification, retraction or correction to be provided to Celonis when provided to any third party,

which statement shall be agreed between the parties within 15 days of this Stipulation and which

shall include, at a minimum, the contents of paragraph one, above.

       4.      Celonis will immediately withdraw the PI Motion (and will immediately hereafter

file whatever notice or motion is necessary to effect that withdrawal). Neither Party shall file any

motion for preliminary injunction against the other during the pendency of this Stipulation unless

for conduct unrelated to the subject matter of this Stipulation and of which the moving party is

unaware at the time of this Stipulation.

       5. Celonis will not use or deploy ODP RFC to extract data from an SAP system during the

pendency of this Stipulation, unless SAP permits or allows any other third party vendor or other

third party process miner to extract data using ODP RFC.

       6.      The Parties agree that this Stipulation may not be used to in any way suggest or

argue that any license has been granted, or to suggest or argue that any license is required, from

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one Party to another. The Parties reserve all rights with respect to any claim (including for any

damages and/or permanent injunctive relief) against the other, and the Parties may pursue any such

claims during the pendency of this Stipulation. This Stipulation shall be governed by Federal Rule

of Evidence 408.

       7.      This Stipulation terminates upon resolution of this action on the merits in its entirety

at the district court level, for example, upon issuance of a dismissal without leave to amend,

summary judgment or trial decision that results in a final appealable judgment and disposes of this

action. Nothing herein, however, shall preclude either Party from seeking a stay of execution or

other interim relief pending appeal of such decision.

 Dated: June 5, 2025                                JONES DAY

                                                    By: /s/ David C. Kiernan
                                                        David C. Kiernan


                                                    Attorneys for Defendants
                                                    SAP SE and SAP AMERICA, INC.

 Dated: June 5, 2025                                HOGAN LOVELLS US LLP

                                                    By: /s/ Jennifer Fleury
                                                        Jennifer Fleury


                                                    Attorneys for Plaintiffs
                                                    Celonis SE and Celonis, Inc.




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                                 SIGNATURE ATTESTATION

       I attest that the content of this document is acceptable to all persons required to sign it,

and that I have obtained authorizations from each of them to affix his or her electronic signature

to this document.



Dated: June 5, 2025                                 HOGAN LOVELLS US LLP



                                                    By: /s/ Jennifer Fleury
                                                        Jennifer Fleury

                                                    Attorneys for Plaintiffs




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